                                                                          Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 1 of 63



                                                                  1     Robert H. Feinberg (Bar #015059)
                                                                        Joshua R. Woodard (Bar #015592)
                                                                  2     Claudia E. Stedman (Bar #036387)
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                                                                  7
                                                                        Attorneys for Defendant Liberty University, Inc.
                                                                  8
                                                                  9
                                                                  10
                                                                                             IN THE UNITED STATES DISTRICT COURT
                                                                  11
                                                                                                    FOR THE DISTRICT OF ARIZONA
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12
                                                                        Misty Pagan
Snell & Wilmer
                       Phoenix , Arizona 85004 -2202




                                                                  13                                                       No.
                                                                                       Plaintiff,
                              LAW OFFICES


                                602.382.6000




                                                                  14                                                       (Maricopa County Superior Court Case
                                     L.L.P.




                                                                                v.                                                    No. CV2022-052306)
                                                                  15
                                                                        Liberty University, Inc., a Virginia                     NOTICE OF REMOVAL
                                                                  16    corporation,
                                                                                     Defendant.
                                                                  17
                                                                  18           Defendant Liberty University, Inc. (“Liberty”), by and through its attorneys, Snell &
                                                                  19   Wilmer, L.L.P., files this Notice of Removal of the above-captioned action from the
                                                                  20   Superior Court of Arizona, Maricopa County (“Superior Court”) based on the following
                                                                  21   grounds:
                                                                  22           1.     On or about July 22, 2022, this action was commenced by Plaintiff Misty
                                                                  23   Pagan (“Plaintiff”) against Liberty in the Superior Court and is currently pending in that
                                                                  24   Court as Case No. CV2022-052306.
                                                                  25           2.     Liberty was served with a copy of the Summons and Complaint on August 3,
                                                                  26   2022.
                                                                  27           3.     True and accurate copies of the Summons and Complaint that were served on
                                                                  28   Liberty University are attached hereto as Exhibit 1.
                                                                          Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 2 of 63



                                                                  1           4.     A true and accurate copy of the Certificate of Compulsory Arbitration is
                                                                  2    attached hereto as Exhibit 2.
                                                                  3           5.     Plaintiff’s Summons and Complaint and Certificate of Compulsory
                                                                  4    Arbitration constitute the entire proceeding in the Superior Court.
                                                                  5           6.     Pursuant to 28 U.S.C. § 1446(a) and LRCiv 3.6(b), true and correct copies of
                                                                  6    all process, pleadings, and orders that have been filed in this action are attached as Exhibits
                                                                  7    1 and 2.
                                                                  8           7.     The above-captioned case is a civil action that may be removed to this Court
                                                                  9    under 28 U.S.C. §§ 1441(b) and 1332 based on diversity jurisdiction. The Complaint alleges
                                                                  10   that Plaintiff is “a resident of Maricopa County, Arizona.” Exhibit 1 at ¶ 1. Plaintiff is a
                                                                  11   citizen of the United States, and Plaintiff’s domicile is in the state of Arizona because she
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12   resides there and, upon information and belief, resides there with intention to remain. See
                                                                       Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (“A person’s domicile is
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                       Phoenix , Arizona 85004 -2202




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                                                                  14   her permanent home, where she resides with the intention to remain or to which she intends
                                     L.L.P.




                                                                  15   to return.”) (internal citations omitted); State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d
                                                                  16   514, 520 (10th Cir. 1994) (an individual’s place of residence is prima facie evidence of his
                                                                  17   or her domicile). Because Plaintiff resides in the state of Arizona with the intention of
                                                                  18   remaining in the state of Arizona, Plaintiff’s domicile, for the purposes of diversity
                                                                  19   jurisdiction, is Arizona.
                                                                  20          8.     Liberty is not a citizen of the state of Arizona.
                                                                  21          9.     Plaintiff correctly alleges that Liberty is “a Virginia corporation” and “is
                                                                  22   based in Lynchburg, Virginia.” Exhibit 1 at ¶ 2 and ¶ 6. Liberty’s principal place of business
                                                                  23   and “nerve center” is in Lynchburg, Virginia. See Hertz Corp. v. Friend, 559 U.S. 77 (2010)
                                                                  24   (holding that a corporation’s principal place of business is its nerve center, where its officers
                                                                  25   direct, control, and coordinate the corporation’s activities). Therefore, Liberty is a
                                                                  26   corporation domiciled in the state of Virginia at the time this action commenced and at the
                                                                  27   time this petition for removal was filed.
                                                                  28          10.    Because Liberty does not share a state of citizenship with Plaintiffs, complete


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                                                                          Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 3 of 63



                                                                  1    diversity of citizenship exists.
                                                                  2           11.    Although the Complaint does not set forth the dollar amount of damages
                                                                  3    sought, pursuant to 28 U.S.C. § 1446(c)(2)(B), removal is proper because the amount in
                                                                  4    controversy, exclusive of interest and costs, is in excess of $75,000 based on the allegations
                                                                  5    in the Complaint and because Plaintiff has demanded an amount in excess of $75,000. See
                                                                  6    Exhibit 1 at ¶ 13 (Plaintiff paid for her tuition “out of pocket” and “used financial aid as
                                                                  7    well.”), ¶ 15 (Plaintiff spent money “on textbooks, software programs, and lab
                                                                  8    work/fingerprinting”), ¶ 55 (Plaintiff “could have made between $75-100/hr” starting in
                                                                  9    August 2021), ¶ 63 (Plaintiff was not issued a full refund), ¶ 111 (Plaintiff “has been and
                                                                  10   will continue to be consequently and proximately injured by the materially incomplete, false
                                                                  11   and misleading statements by Liberty), ¶ 116 (Plaintiff relied “on [Liberty’s] misstatements,
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                                                                  12   omissions, false promises, and false advertisements, and as a result, Plaintiff has suffered
                                                                       damages to be proven at trial, plus interest . . . .”), ¶ 127-28 (Plaintiff “never would have
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                                                                  14   enrolled or continued matriculated at Liberty had she known that these representations were
                                     L.L.P.




                                                                  15   indeed misrepresentations . . . and will continue to be injured as a result of these
                                                                  16   misrepresentations.”); ¶ 131-34 (Liberty “breached its duties to [Plaintiff]” and as a result
                                                                  17   Plaintiff has been “actually and proximately” damaged in “an amount to be proven at
                                                                  18   trial.”), ¶ 158 (as a result of Liberty’s “violations of their promises, [Plaintiff] was injured,
                                                                  19   and will continue to be injured, and is entitled to an award of damages . . . and/or any other
                                                                  20   available remedies in a form and amount to be determined by the trier-of-fact.”), ¶ 165
                                                                  21   (Plaintiff should be permitted to “disgorge the amounts obtained from the wrongful conduct
                                                                  22   . . . to pay [Plaintiff] the amount she was impoverished.”), ¶ 172 (injunctive relief), and
                                                                  23   compensatory, incidental, consequential and punitive damages. See Exhibit 1 at Request for
                                                                  24   Relief ¶ A–B. The amount in controversy also includes the amount of damages in dispute,
                                                                  25   as well as attorneys’ fees, if authorized by statute or contract. See Kroske v. U.S. Bank Corp.,
                                                                  26   432 F.3d 976, 980 (9th Cir. 2005). Plaintiffs have requested an award of attorneys’ fees.
                                                                  27   See Exhibit 1 at Request for Relief ¶ F.
                                                                  28          12.    Pursuant to 28 U.S.C. § 1441(b)(1), the citizenship of the remaining


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                                                                          Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 4 of 63



                                                                  1    defendants in this action, sued under fictitious names, shall be disregarded.
                                                                  2           13.    Accordingly, this action is subject to removal to this Court pursuant to 28
                                                                  3    U.S.C. §§ 1441(b) and 1332 based on diversity jurisdiction.
                                                                  4           14.     Liberty consents to this Notice of Removal.
                                                                  5           15.    Venue is appropriate in the District of Arizona because the Superior Court
                                                                  6    where the action is pending is located in Arizona, and Arizona constitutes one judicial
                                                                  7    district. See 28 U.S.C. §§ 82, 1441(a).
                                                                  8           16.    This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b)(1)
                                                                  9    because it is being filed within 30 days of Liberty’s receipt of a copy of the Complaint.
                                                                  10          17.    A copy of this Notice of Removal is being served this date on Plaintiffs
                                                                  11   pursuant to 28 U.S.C. § 1446(d).
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12          18.    A copy of this Notice of Removal is also being filed this date with the Clerk
Snell & Wilmer
                       Phoenix , Arizona 85004 -2202




                                                                  13   of the Superior Court, and notice of removal provided herewith pursuant to 28 U.S.C. §
                              LAW OFFICES


                                602.382.6000




                                                                  14   1446(d) and LRCiv 3.6(a). A copy of the Notice of Filing Notice of Removal is attached
                                     L.L.P.




                                                                  15   hereto as Exhibit 3.
                                                                  16          By this Notice of Removal, Liberty does not waive, and hereby expressly reserves,
                                                                  17   any defenses it may have, including, but not limited to, any defenses that may be asserted
                                                                  18   pursuant to Fed. R. Civ. P. 12.
                                                                  19          Pursuant to the foregoing, Liberty respectfully removes this matter from the Superior
                                                                  20   Court to this Court for determination of all issues.
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                                                                        Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 5 of 63



                                                                  1
                                                                       DATED this 1st day of September, 2022.
                                                                  2
                                                                  3
                                                                                                                      SNELL & WILMER L.L.P.
                                                                  4
                                                                                                                  By: /s/Claudia E. Stedman
                                                                  5                                                  Robert H. Feinberg (Bar #015059)
                                                                                                                     Joshua R. Woodard (Bar #015592)
                                                                  6                                                  Claudia E. Stedman (Bar #036387)
                                                                                                                     One Arizona Center
                                                                  7                                                  400 E. Van Buren
                                                                                                                     Phoenix, AZ 85004-2202
                                                                  8                                                  Telephone: 602.382.6000
                                                                                                                     Facsimile: 602.382.6070
                                                                  9                                                  Attorneys for Defendant

                                                                  10
                                                                  11
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12
Snell & Wilmer
                       Phoenix , Arizona 85004 -2202




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                                                                  14
                                     L.L.P.




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                                                                          Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 6 of 63



                                                                  1                                 CERTIFICATE OF SERVICE
                                                                  2           I do hereby certify that, on this 1st day of September, 2022, I electronically
                                                                  3    transmitted the foregoing document to the Clerk’s Office using the CM/ECF System for
                                                                  4    filing and transmittal of a Notice of Electronic Filing to the following CM/ECF registrants,
                                                                  5    and by email and/or U.S. First Class Mail if non-registrants:
                                                                  6
                                                                  7
                                                                       Jeffrey Harris (Bar #031136)
                                                                  8    TITUS BRUCKNER & LEVINE PLC
                                                                       8355 E. Hartford Dr., Suite 200
                                                                  9    Scottsdale, Arizona 85255
                                                                       480-483-9600
                                                                  10   jharris@tbl-law.com

                                                                  11   Attorney for Plaintiff Misty Pagan
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12
Snell & Wilmer
                       Phoenix , Arizona 85004 -2202




                                                                  13
                                                                       /s/Natalie Ayala
                              LAW OFFICES


                                602.382.6000




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                                     L.L.P.




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          EXHIBIT 1
       Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 8 of 63                                  ~ff#
                                                                                                          e'r1:1.
                                                                           Clerk of the Superior Couti      ~.'.?I'
                                                                           *** Electronically Filed ***          , ,_
                                                                              K. Sleeseman, Deputy               "'t
                                                                              7/22/2022 5:39:35 PM
Person/ Attorney Filing: Jeffrey Harris                                        Filing ID 14599987
Mailing Address: 8355 E Hartford Drive Suite 200
City, State, Zip Code: Scottsdale, AZ 85255
Phone Number: (480)483-9600
E-Mail Address: Jharris@tbl-law.com
[ ] Representing Self, Without an Attorney
(If Attorney) State Bar Number: 031136, Issuing State: AZ

                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                      IN AND FOR THE COUNTY OF MARICOPA

 MISTY PAGAN
 Plaintiff(s ),                                        Case No. CV2022-052306
 V.
 LIBERTY UNIVERSITY, INC. a Virginia                   SUMMONS
 corporation
 Defendant(s).
To: LIBERTY UNIVERSITY, INC. a Virginia corporation

WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

 1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
    served on you with this Summons.

2. If you do not want a judgment taken against you without your input, you must file an
   Answer in writing with the Court, and you must pay the required filing fee. To file your
   Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
   Phoenix, Arizona 85003 or electronically file your Answer through one of Arizona's
   approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
   Mail a copy of the Answer to the other patty, the Plaintiff, at the address listed on the top
   of this Summons.
   Note: If you do not file electronically you will not have electronic access to the documents
   in this case.

3. If this Summons and the other com1 papers were served on you within the State of
   Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
   date of service, not counting the day of service. If this Summons and the other comi papers
   were served on you outside the State of Arizona, your Answer must be filed within
   THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
   service.
         Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 9 of 63




        Requests for reasonable accommodation for persons with disabilities must be made to
 the court by parties at least 3 working days in advance of a scheduled court proceeding.


        GIVEN under my hand and the Seal of the Superior Comi of the State of Arizona in
 and for the County of MARICOPA




SIGNED AND SEALED this Date: July 22, 2022

JEFF FINE
Clerk of Superior Court

By: KELLY SLEESEMAN
Deputy Clerk



Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
the case by the party needing the interpreter and/or translator or his/her counsel at least ten ( I 0) judicial days in
advance of a scheduled court proceeding.
If you would like legal advice from a lawyer. contact LaYvyer Referral Service at 602-257-4434 or https://maricopabar.org. Sponsored by the Maricopa
County Bar Association.




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     Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 10 of 63
                                                                           Clerk of the Superior Comt
                                                                           *** Electronically Filed***
                                                                              K. Sleeseman, Deputy
                                                                             7/22/2022 5:39:35 PM
                                                                               Filing ID I 4599984
 1 Jeffrey D. Hanis (Bar No. 031136)
   TITUS BRUECKNER & LEVINE PLC
 2 8355 E. Hartford Drive, Suite 200
 3 Scottsdale, Arizona 85255
   480-483-9600
 4 jharris@tbl-law.com

 5
     Attorneys for PlaintiffMisty Pagan
 6
                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7

 8                        IN AND FOR THE COUNTY OF MARICOPA

                                                         No.       CV2022-052306

                    Plaintiff,

             V.                                          COMPLAINT

      LIBERTY UNIVERSITY, INC., a Virginia
      corporation; DOES I-X; ABC
      CORPORATIONS I-X; XYZ
      PARTNERSHIPS 1-X; and DEF LLCs I-X,

                    Defendants.

            Plaintiff, for her complaint against Defendants in this action, alleges as follows:
18
     I.     PARTIES, JURISDICTION, AND VENUE
19
            1.     Plaintiff Misty Pagan, an individual ("Ms. Pagan"), is a resident of Maricopa
20
     County, Arizona.
21
            2.     Defendant Libe1iy University, Inc. ("Liberty"), is a Virginia corporation.
22
            3.     Defendants Does I-X, ABC Corporations I-X, XYZ Partnerships I-X, and
23
     DEF LLCs I-X are employees, agents, or independent contractors acting within the scope
24
     of their employment and/or agency who have been fictitiously named and who may have
25
     caused, contributed to, received benefits from, aided and abetted, or conspired with the
26
     other Defendants in the events alleged in this Complaint. Defendants Does I-X were at all
27
     times acting on behalf of and in furtherance of their respective marital communities.
28

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     Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 11 of 63




 1           4.     Defendants caused various acts alleged in this complaint to occur in

 2 Maricopa County, Arizona. Jurisdiction and venue in this state and county are proper.

 3           5.      Plaintiff seeks relief for an amount of damages that qualifies this lawsuit for

 4 Tier 3 discovery per Rule 26.2( c)(3 ), Arizona Rules of Civil Procedure.

 5 II.       FACTUAL BASIS FOR PLAINTIFF'S CLAIMS
 6           6.     Ms. Pagan was an online post-doctoral student at Liberty (which is based in
 7 Lynchburg, Virginia), while residing in Maricopa County, Arizona.

 8           7.      She is not a traditional student. She is a doctoral-prepared nurse practitioner
 9 and program director for graduate nursing programs at a reputable university in Glendale,

10 Arizona. As such, she understands the requirements needed to complete a post-doctoral

11    education program.

12           8.     "The program is responsible for ensuring adequate physical resources and
13    clinical sites. Clinical sites are sufficient, appropriate, and available to achieve the
14 program's mission, goals, and expected outcomes. The program needs to meet these
15    expectations regardless of whether the student or the program finds the clinical site." This
16 verbiage comes directly from the accrediting body, the Commission on Collegiate Nursing

17 Education (CCNE) under Standard II-B (see Exhibit A at 3 for the revisions went into

18    effect January 1, 2019).

19           9.     She was accepted into Liberty's psych-mental health nurse practitioner post-
20 doctoral program in August 2020 with a set cmTiculum in which she was slated to graduate
21    in August 2021.

22           10.    Prior to registering for the program, she looked on Libe1iy's website and
23   noted that they adve1iised that they could not accept students in only one state: New York.
24           11.    When Ms. Pagan entered the Spring 2021 semester, on Wednesday, January
25   20, 2021, she received an email from Liberty University's Practicum Coordinator, Michelle
26 Davis, stating that they are not allowing students to conduct practicum experiences in
27 A1izona, and without further explanation.

28           12.    Ms. Pagan then made several attempts to contact the named Practicum

                                                  -2-
     Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 12 of 63




     Coordinator, Program Director, Folashade Odedina, and Admissions Director, John East.

 2   When she did not hear anything further from those she contacted (several times) at Liberty

 3   University, she escalated her concerns to the Dean of Nursing, Shanna Akers, on Friday,

 4   January 22, 2021.

 5          13.    Ms. Pagan requested a full refund as she was not only paying out of pocket
 6   each month, but used financial aid as well.

 7          14.    Libe1iy refused and stated that since Ms. Pagan entered the course at the

 8 beginning of January 2021, she had no recourse.

 9          15.    Even if she had been given a full refund, it would not have reimbursed her

IO for the amount of money spent on textbooks, software programs, and lab
11   work/fingerprinting.
12          16.    In addition, Ms. Pagan has spent countless hours throughout the program
13   writing papers, creating PowerPoints, taking the lead for all group projects in three

14 different courses throughout 2020, and studying for exams.

15          17.    Since then, Ms. Pagan communicated back and forth with the dean of
16 nursing, in which communications, Dean Akers had convinced Ms. Pagan to stay in the
17 practicum course (NURS 754) and that they would find a university approved preceptor for
18 her as they were allegedly working with the Arizona State Board of Nursing (AZBN) to

19 receive program approval.

20          18.    Ms. Pagan showed Dean Akers (via one of their Microsoft Teams meetings),

21   in January 2021, where Ms. Pagan found the above information (listed in #10) about the

22 program not accepting students in the state of New York (only) so that Libe1iy could

23   update their website (as applicable) to reflect other states where they could not accept
24 students (i.e., Arizona).

25          19.    Dean Akers thanked Ms. Pagan as she had "no idea" of this issue.
26          20.    The Arizona State Board of Nursing Approved Programs list is fluid, and is
27 not immediately updated, and so prior to applying to the program at Liberty University,

28   Ms. Pagan asked Liberty's admissions team whether Liberty could accept sh1dents in

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      Arizona, and attempted to reach out to the program director as well, but did not receive a

 2 response.

 3           21.     Liberty had no reservations about accepting Ms. Pagan into their program.

 4          22.      She began the program in August 2020 and as she progressed throughout the

 5 eight-week didactic courses, she grew concerned as to how many times the grades had
 6 changed (increased) after each remote proctored exam.
 7          23.      In other words, upon information and belief, the grades were "padded" so
 8 that students were shown to be passing even if, by prior criteria, they were failing the
 9 course.
            24.      Ms. Pagan joined a student support group (Liberty PMHNP Online) on

11    Facebook, and it disheaiiened her to see how many students discussed the importance of

12 the curves so that they would pass the exams.

13          25.      Ms. Pagan felt that the grade she had received was the one she had earned.
14          26.      She worked hard and studied even harder for each exam.
15          27.      It is understandable to remove an exam question from students' grades if it
16 was poorly w1itten, but, upon information and belie±: there were instances, such as during

17 the Clinical Psychopharmacology course (NURS 752), when at least four questions were

18 removed on 25-question exams, \Vhich is excessive as it represents 1.6% of one's grade.

19          28.      As Ms. Pagan progressed, she had to locate her own preceptors.
20          29.      Based on the original requirements documented in Liberty University's
21   PMHNP Practicum Guide (see Exhibit B at 5), she was able to precept under a licensed
22 psychologist, a licensed counselor, a psych-mental health nurse practitioner, or a
23   psychiatrist.

24          30.      As she was searching for preceptors, she was informed that at least 200 hours

25 must be conducted with a psych-mental health nurse practitioner-and she had a very
26   difficult time finding a reputable one.
27          31.      It takes time to contract with a preceptor/practicum site as the student is
28   tasked with locating a preceptor/practicum site, completing the Liberty contracts and

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     Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 14 of 63




 1 requesting the supporting documentation from each preceptor/practicum site, sending all

 2 completed documents (see Exhibit C, Forms Nine and Ten; refer to Liberty University's

 3 DNP 2019 Handbook, at 152-155) to Liberty University's Practicum Coordinator,, and

 4 waiting to hear back from Libe1ty University to confim1 if the preceptor/practicum site has

 5 been approved.

 6           32.    In late December 2020/early January 2021, Ms. Pagan was able to find and

 7    initiated a contract with a reputable licensed psychologist.

 8           33.    In early January 2021, she met with him, the CEO of the organization, and
 9 several other team members.

10           34.    They appeared excited to have her on-board as a student. The psych-mental
11   health nurse practitioner that she had contracted with in October 2020 (in preparation for
12 the January 2021 staii date for the course NURS 754), abandoned her. After leaving

13   several messages to request a staii date for preceptorship, Ms. Pagan finally received a

14 response from the preceptor via phone in which she stated that she was no longer available

15   unless Ms. Pagan would be willing to see patients on her own at the provider's office and

16 to text her if Ms. Pagan had any questions.
17           35.    Ms. Pagan told her that she would not do this because it is not ethical nor was
18   she comfo1iable with this arrangement as she is not a psych-mental health provider, and
19 that she would proceed in finding another provider to work with. As a result, Ms. Pagan

20   informed the dean of nursing at Liberty University that she would need to find another

21   preceptor due to these concerns and breach of contract.

22           36.    She later located another preceptor/practicum site in March 2021; however,
23   the preceptor was not able to accommodate Ms. Pagan's hours until June 2021 ( and it was
24 later determined that the provider would only be available for half of these hours due to

25   summer vacations, etc.).
26          37.     Ms. Pagan was encouraged by Dean Akers to take an "I" until she completed
27   her hours over the summer months.
28          38.     Ms. Pagan was supposed to graduate in August 2021, and then her plan

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     Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 15 of 63




 1 moved to December 2021; now, it is inevitable that she will have to staii all over again in a

 2   different program.

 3          39.     During NURS 754 (in April 2021 ), Ms. Pagan was forced to wake up at 4:00

 4   am to be on a live Standardized Patient Experience at 5 :00 am because they "'could not

 5 accommodate students on the West Coast." Otherwise, she would have received a failing

 6 grade for not paiiicipating.

 7          40.     Meanwhile, other students were complaining that it was "too early" for them
 8 on the East Coast.

 9          41.     Ironically, Ms. Pagan was the only one of very few students who knew the

10 diagnosis (paranoid schizophrenia) of the patient despite not yet experiencing practicum

11   experiences.

12          42.     Ms. Pagan asked herself and the adjunct faculty member who was teaching
13   the didactic portion of the course (NURS 754) what have these students learned during this
14 program and in their practicum experiences as many stated that the patient had a "mood
15   disorder."

16          43.     Liberty's dean of nursing continued to assure Ms. Pagan, since January 2021

17 that they were working on getting approvals from the Arizona State Board of Nursing

18 (AZBN).

19          44.     In June 2021, Ms. Pagan found a Decree of Censure posted on the Arizona
20 Board of Nursing website which states that Liberty is listed under "Programs with Cunent
21   Violations." See Exhibit D.

22         45.      Ms. Pagan sent this document to the same University administration team

23   who has been on her email chains since January 2021 (including the dean of nursing).

24         46.      As a result of not completing this program, in addition to resources wasted
25   (time, money, etc.), Ms. Pagan will not be able to implement her objectives of assisting to
26   address the mental health needs of community patients throughout the state of Arizona, in
27 which psych-mental health nurse practitioner providers are in demand.
28         47.      Ms. Pagan was patient and escalated her concerns to the dean of nursing

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 1 (who she worked with since January 2021) in hopes of receiving some fonn of resolution.

 2 In the end, all parties involved lacked transparent conmrnnication and/or were dishonest.

 3          48.     Liberty claims to be a faith-based university, which makes this experience
 4 beyond disappointing-it is egregious.

 5          49.     Ms. Pagan spent much time preparing for remote-proctored examinations and
 6 compiling very extensive assignments.

 7          50.     She patiently made every effo11 to work with different individuals throughout
 8 the program, including the dean.

 9          51.     The program director and admissions director both ignored her concerns.

10          52.     Ms. Pagan \vould meet with the dean of nursing from the end of January
11   2021 to June 2021 (she initiated contact when she received an email from the practicum
12 coordinator stating that students in Arizona could not conduct practicum experiences);
13   otherwise, she would not have heard anything from the university.

14          53.     The only one who provided any form of open communication with Ms.
15 Pagan (after she informed her of the concerns) was an adjunct faculty member, she was
16 ignored or passed around by eve1yone else.
17          54.     The dean of nursing has since June/July 2021 referred an Ombudsman to deal
18 with Ms. Pagan's concerns and did not reveal the entire picture to him.

19          55.     With this ce11ification, Ms. Pagan could have made between $75-100/hr, and
20 she was scheduled to graduate from this program in August 2021.

21          56.     Ms. Pagan had this tirneline in place because she is also a program director
22   for graduate nursing programs and she did not know ,vhat bandwidth she would have after
23   August 2021.
24          57.     She could have completed this program at a different university and would
25 have had the same timeline to graduate in August 2021.

26          58.     Ms. Pagan's current grade for NU 754 is an "I" for '"incomp]ete."
27          59.     She should not have this grade, and this shou]d be expunged from her record
28   as she did most of the work for the course (except for the practicum hours) and technically

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                           1 had an '"A" (709.92 out of 710 possible).

                           2          60.    Ms. Pagan had preceptors in place and contracts signed prior to the start of

                           3 this course based on the university handbook.

                           4          61.    However, as previously mentioned, she learned at the end of January 2021

                           5 that Liberty could not accept students in Arizona for practicum experiences.

                           6          62.    Then Libe1ty stated that she could not use the one preceptor as originally
                           7 outlined in their PMHNP Practicum Guide (pg. 5).

                           8          63.    Liberty also refused to issue Ms. Pagan a full refund, which led to this
                           9 situation.
u                         10          64.    Libe1iy University explicitly shared that administration was aware in late
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~o
~~                        11   October/early November 2020 that they could not accept students from Arizona, but that
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$=·s
~       if1   ~           12 did not stop them from allowing Ms. Pagan to apply to practicum courses and paymoney
~        I    N
        CJ    •no
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~-;:: N ~                 13    (to include financial aid) in December 2020 for the Spring 2021 semester.
   Cl --< I
~ -0              r   M
~ ~c=3,
  ~ OJ~                   14          65.    Ms. Pagan has received notifications from students in a Liberty Facebook
-  t-' -0 0
ua2~
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~ 1,j c½
                          15 group, and has been saddened to see that those students who were able to complete the
~       c2
~       tr,
                          16 program spent a significant amount of time ,vaiting for their authorization to test (A TT) for
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E-«
,-..j                     17 the certification which they studied so hard to achieve. Programs generally want their
E-
                          18   students to test soon after graduation to suppo11 successful pass rates

                          19          66.    Either way, Ms. Pagan would have been out of money.
                          20          67.    For a time, Ms. Pagan continued to receive voicemails on her home phone

                          21   from Liberty to check in and ask her to sign up for the next semester. Many times, they

                          22   were automated calls.

                          23          68.    As of May 2022, Ms. Pagan continues to receive automated email

                          241 communication to sign up for the next (Summer 2022) semester.
                          25          69.    Ms. Pagan made an official complaint to Liberty in the summer of 2021.
                          26          70.    In response to her complaint, Liberty sent her a letter with false information.

                          27          71.    For example, Ms. Pagan was tasked with finding her practicum sites and sent
                          28   the required info1111ation to them.

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 1            72.   In addition, Ms. Pagan brought these concerns forward to the dean back in

 2   January 2021-not the other way around.

 3            73.   Among other things, Ms. Pagan's GPA is at stake; she had a 4.0 in the

 4 program.

 5            74.   Ms. Pagan is not willing to take a "D" in NURS 7 54 as threatened and then

 6    changed in March 2022 by Luke Gentala, nor does she believe at this time that she is

 7 willing to continue in this subpar program, given the lack of responsiveness from this

 8 university.

 9            75.   Ms. Pagan also has correspondence from the faculty member who was

10 teaching the recent course in which she has an "I."

11            76.   The adjunct faculty member, herself, apologized to Ms. Pagan for ,vhat

12 Libe1iy was doing to her.

13            77.   In December 2021, Ms. Pagan received a response from Mr. Luke Gentala.

14 Apparently, Liberty was receiving so many applications that they were now "'wait listing"

15   prospective students, which is apparently why Mr. Gentala was proposing a Summer 2022

16   start.
17            78.   Also, due to the demand of a PMHNP program, Libetiy was increasing its

18 tuition in 2022.

19            79.   Ms. Pagan had at least three concerns with Mr. Gentala's December 2021

20 response:

21            a.    She never started NU 755; the course in question was NU 754 in which she

22                  has an "incomplete" (I). What Ms. Pagan will not accept is a "D" in a course

23                  that Liberty is now insisting she restart (which was a part of her initial

24                  request because she learned little to nothing and too much time had passed,

25                  and this was blatantly ignored by the university).

26            b.    Somewhere in Liberty's policies, it states that students have to complete the

27                  post-doctoral cc1iificate program within two years of matriculation. Thus,

28                  unless Ms. Pagan were to resume this program in the spring of 2022, she

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 1                 would be out of time as she began this program in August 2020.

 2           C.    Ms. Pagan is not willing to pay to take the same course over; nor is she

 3                 willing to pay more in tuition for a less than subpar program.

 4           80.   In March 2022, Ms. Pagan decided to check the Libe1iy University email to

 5   see if Mr. Gentala responded. It was at that time she noticed that Liberty had taken it upon

 6 itself to automatically enroll her in the Summer 2022 semester.

 7           81.   Ms. Pagan was not in contact with Liberty since Mr. Gentala last reached out

 8 to her.

 9           82.   No one consulted Ms. Pagan regarding this course enrollment.

10           83.   Upon information and belief: Liberty has a stipulation by whkh post-

11   graduate certificates must be completed within two years of matriculation.

12           84.   Ms. Pagan began the program in August 2020 with an expectation to

13   complete in August 2021. Due to the time that has passed, Ms. Pagan would not fit this

14 criteria nor would she consider taking these courses over.

15           85.   She has a 4.0 in all didactic coursework.

16           86.   Mr. Gentala or someone at Libe1iy took it upon themselves to automatically
17   enroll Ms. Pagan in the Summer 2022 semester.

18           87.   But Ms. Pagan was not even given a call by anyone at Liberty regarding it.

19           88.   She did not agree to this; she learned of this by checking the Libe11y email.

20           89.   Upon infonnation and belief~ Mr. Genta la took it upon himself to register Ms.
21   Pagan for the summer course without first consulting her.

22           90.   Fmiher, Mr. Gentala is both the registrar and the ombudsman, which is, upon
23   information and belief, a conflict of interest, as ombudsmen are supposed to be neutral.

24           91.   For example, a registrar works closely with the academic programs, which

25   can certainly lead to a bias.

26           92.   Even more concerning is that Ms. Pagan does not meet the requirements to
27   take this course (NU755). She would have needed to complete NU754 prior to enrolling in
28 NU755.

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 1          93.     Had Ms. Pagan enrolled on her own, the computer would not have allowed

 2   her to move fo1ward with selecting NU755 as she has an "I" in the course NU754.

 3          94.     Ms. Pagan is perplexed as to why she has been enrolled in a course after not

 4   taking a class for over a year at this university.

 5          95.     Ms. Pagan is also being charged for this course, and, upon information and

 6 belief, for the costs associated with another background check, Castlebranch access

 7   (repository for all graduate nursing documents), etc.

 8          96.     As of March 24, 2022, Mr. Gentala changed Ms. Pagan's grade in the NU754
 9   course from an "I" to a "D," damaging her previously perfect GP A at Liberty.

            97.     Further, as of March 24, 2022, Mr. Genta la infom1ed Ms. Pagan that she

11   would need to file an appeal to continue in the program without repeating all of the
12   courses-at her expense, and with a tuition increase--despite the fact that these delays and
13   enors have been due to Liberty and its own internal record-keeping.

14          98.     In the event Ms. Pagan would decide to complete this program, she should

15   not have to absorb these costs.

16 Ill.     CAUSES OF ACTION
17                                  FIRST CLAIM FOR RELIEF
18                 Common Law Fraud / Fraudulent Inducement-All Defendants
19          97.     Plaintiff incorporates by reference each and every allegation of this complaint
20 as if again alleged in full.

21          98.     Defendants made one or more representations, statements, omissions, and/or

22   disclosures to Ms. Pagan in connection with Ms. Pagan's enrollment and continued

23   matriculation at Liberty.

24          99.     The misrepresentations made by Defendants included, but are not limited to,
25   those described in Section II above.
26          100.    Defendants' representations, statements, omissions, and/or disclosures were
27   false, misleading, and fraudulent, and/or with reckless disregard as to their truth.

28          101.    The representations, statements, advertisements, and/or disclosures were

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 I    material in that they were sufficiently important to influence a reasonable student's ( and

 2 Ms. Pagan's) actions and decisions, and/or the facts omitted from Defendants'

 3 representations, statements, advertisements, and disclosures rendered the representations,
 4    statements, adve1iisements, and disclosures misleading, and they ,vere also sufficiently

 5 important to influence a reasonable student's (and Ms. Pagan's) actions and decisions, and

 6 included the intentional or reckless omission of facts that were then present, existing, and

 7 knovvn to Defendants.

 8           102.    These misrepresentations would be likely to affect the conduct of a
 9 reasonable person with reference to the transaction in question.

10           103.    Defendants knew that their representations, statements, adve1iisements,
11    and/or disclosures were false or materially incomplete, and therefore false and misleading,

12    or acted with reckless disregard as to their truth. In canying out their fraud, Defendants

13    acted with an evil mind or engaged in wanton or reckless conduct.

14           104.    Defendants intended that Ms. Pagan would act upon the representations,
15    statements, advertisements, and/or disclosures in the manner reasonably contemplated by
16 Defendants.
17           105.    Ms. Pagan did not know that Defendants' representations, statements,
18 adve1iisements, and/or disclosures were materially incomplete, false and/or misleading,
19 and she acted upon the fraudulent representations, statements, advertisements, and
20 disclosures in a manner reasonably contemplated by Defendants by enrolling at Liberty and

21    continuing to be matriculated there.
22           106.    Ms. Pagan never would have enrolled at Libe1iy nor continued to be
23    matriculated there had Ms. Pagan known that these representations were indeed
24 misrepresentations, or were othe1wise false, incon-ect, misleading, and/or incomplete.

25           107.    These misrepresentations were an inducing cause and "material

26    consideration" for Ms. Pagan enrolling at and continuing to be matriculated at Liberty.

27           l 08.   Ms. Pagan relied upon these misrepresentations and her reliance was
28 reasonable and justified under the circumstances.

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 1          109.    Ms. Pagan had a reasonable right to rely, and did rely, upon the truth,

 2   accuracy, and completeness of the representations, statements, adve11isements, and/or

 3 disclosures made by Defendants.

 4          110.    Ms. Pagan has been and will continue to be injured as a result of these

 5 misrepresentations.

 6          111.    Ms. Pagan has been and will continue to be consequently and proximately

 7 injured by the materially incomplete, false, and misleading statements of fact by
 8 Defendants and is entitled to an award of damages and/or any other available remedies in a
 9 form and amount to be determined by the jury, including an award of punitive damages.

10                                  SECOND CLAIM FOR RELIEF

11                 Consumer Fraud (A.R.S. §§ 44-1521, et seq.)-All Defendants

12          112.    Plaintiff incoqJorates by reference each and every allegation of this complaint

13   as if again alleged in full.
14          113.    As discussed in more detail above, Defendants made one or more
15 representations, statements, omissions, and/or disclosures to Ms. Pagan in connection with
16 Ms. Pagan's enrollment and continued matriculation at Liberty.

17          114.    It is clear by Defendants' inactions and omissions that such statements,
18 promises, and advertisements were materially false.

19          115.    In making such statements, Defendants intended that Plaintiff would rely on
20 these material misstatements, false promises, and false advertisements in choosing to enroll
21   and continue matriculated at Liberty.

22          116.    Plaintiff did in fact rely on Defendants' misstatements, omissions, false

23   promises, and false adve1tisements, and as a result, Plaintiff has suffered damages to be

24 proven at trial, plus interest, together with costs, attorneys' fees and costs of collection, and

25   other relief the Court may deem appropriate.
26                                  THIRD CLAIM FOR RELIEF
27                     Negligent/Innocent Misrepresentation-All Defendants
28          117.    Plaintiff incorporates by reference each and every allegation of this complaint

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 1 as if again alleged in full.
 2           118.   Alternatively to other claims for relief described above, Defendants made

 3 various representations to Ms. Pagan in connection with Ms. Pagan's enrollment and

 4 continued matriculation at Libe1iy.
 sl          119.   Defendants intended that Ms. Pagan rely on these representations and

 6 provided them for that purpose.

 7           120.   Some of Defendants' representations were misrepresentations, or were

 8 othe1wise false, inco1i-ect, misleading, or incomplete.

 9           121.   Defendants may or may not have known of the representations' false,

10    incorrect, misleading, or incomplete nature.
11           122.   The misrepresentations made by Defendants included, but are not limited to,
12 those described in Section II above.

13           123.   These misrepresentations were material.

14           124.   These misrepresentations would be likely to affect the conduct of a

15    reasonable person with reference to the transactions in question.

16           125.   These misrepresentations were an inducing cause and "material
17 consideration" for Ms. Pagan's enrollment and continued matriculation at Liberty.
18           126.   Ms. Pagan relied upon these misrepresentations and her reliance was

19 justified.

20           127.   Ms. Pagan never would have enrolled nor continued matiiculated at Liberty

21    had she known that these representations were indeed misrepresentations, or were
22    otherwise false, incorrect, misleading, or incomplete.
23           128.   Ms. Pagan was and will continue to be injured as a result of these
24 misrepresentations.
25.          129.   Therefore, Ms. Pagan is entitled to her damages.

26           130.   Ms. Pagan may be entitled to attorneys' fees under A.R.S. § 12-341.01 and

27    she is entitled to her costs under A.R.S. § 12-341, and/or any other available remedies in a

28    form and amount to be determined by the Court.

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 1                                   FOURTH CLAIM FOR RELIEF
 2                                     Negligence-All Defendants
 3          131.    Plaintiff incorporates by reference each and eve1y allegation of this complaint

 4   as if again alleged in fu11.

 5          132.    At all relevant times, Liberty owed a duty to Ms. Pagan and to the general

 6 public to run its nursing programs in such a way as to not: ( 1) falsely advertise the

 7 services and ce1iifications it was qualified to provide; (2) needlessly incur tuition and

 8 other costs to its students; (3) negatively affect its students' transcripts and thus,
 9 potentially, their academic prospects and careers; (4) devalue the certifications which it
10 provides through inflated, unjust, and/or non-standard grading practices; and (5) upon

11   information and belief, grant certifications to unqualified sh1dents.

12          133.    Liberty, by, upon information and belief, failing to do the above, breached

13   its duties to Ms. Pagan and to the general public.

14          134.    Liberty's negligent actions actually and proximately caused damages to Ms.
15   Pagan in an amount to be proven at trial.
16                                    FIFTH CLAIM FOR RELIEF
17                                  Breach of Contract-All Defendants
18          135.    Plaintiff incorporates by reference each and every allegation of this complaint

19 as if again alleged in full.
20          136.    Upon information and belief, Liberty and Ms. Pagan entered into one or more
21   written agreements in connection with Ms. Pagan's enrollment and continued matriculation
22   at Liberty, which constitute{s) one or more legally binding contracts between Ms. Pagan
23   and Libe11y.

24          137.    Upon information and belief, under the contract(s), and for money and/or
25   other consideration received, Liberty agreed to provide Ms. Pagan with the post-doctoral

26 nursing education, oppo11unities, and, upon completion of ce11ain requirements,
27   certification(s) which it advertised.
28          138.    Liberty has failed to abide by these terms.

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 1           139.   Ms. Pagan has not excused this material breach or material breaches.

 2          140.    Ms. Pagan has fulfilled her obligations under the contract(s).

 3           141.   As a result of Liberty's breaches of the contract(s), Ms. Pagan was injured,

 4 will continue to be injured, and is entitled to an award of damages, attorneys' fees under

 5 A.R.S. § 12-341.01, costs under A.R.S. § 12-341, and any other available remedies in a

 6 form and amount to be determined by the trier-of- fact.

 7                                     SIXTH CLAIM FOR RELIEF
 8          Breach of the Covenant of Good Faith and Fair Dealing-All Defendants
 9           142.   Plaintiff incorporates by reference each and every allegation of this complaint

10 as if again alleged in full.

11           143.   Under Arizona law, there is an implied covenant of good faith and fair
12   dealing in eve1y wtitten contract.

13           144.   As herein alleged, the contract(s) constituted one or more legally binding

14 contracts between Ms. Pagan and Liberty.

15           145.   Liberty's acts described herein were intentional and in breach of the covenant

16 of good faith and fair dealing owed to Ms. Pagan under the contract(s ).

17          146.    In some instances such as, but not limited to, misrepresenting Libe11y' s
18   qualifications, or by refusing to refund Ms. Pagan's full tuition upon Ms. Pagan's
19 reasonable complaints, Liberty acted with the intent to destroy Ms. Pagan's right to receive
20 the benefits of the contract(s ).

21          147.    Liberty's acts were gross, wanton, intentional, and/or in reckless disregard to

22 the rights of Ms. Pagan, thus justifying an award of punitive damages in an amount to be

23   proven at trial, but sufficient to deter such actions in the future.
24                                   SEVENTH CLAIM FOR RELIEF
25                                  Promissory Estoppel-All Defendants
26          148.    Plaintiff incorporates by reference each and eve1y allegation of this complaint

27   as if again alleged in full.

28          149.    For consideration received and promised, Defendants explicitly and/or

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 1 implicitly promised and/or agreed to provide Ms. Pagan with the education, value, and
 2    certifications advertised to potential students in Arizona.

 3            150.   Liberty failed to provide Ms. Pagan with, or is otherwise incapable of

 4    providing Ms. Pagan with, the education, value, and certifications Libe1iy advertised.

 5            151.   Defendants' actions and inactions as described elsewhere herein constitute

 6    one or more failures of consideration and constituted one or more material breaches of

 7 Libe1iy' s promises to Ms. Pagan.

 8            152.   It was reasonably foreseeable to Defendants that Ms. Pagan would rely upon
 9 these promises.
              153.   Ms. Pagan justifiably relied upon these promises when she paid Libe1iy

11    tuition money.

12            154.   Ms. Pagan incurred loss and suffered detriment as the result of such reliance.

13            155.   Defendants are responsible for this loss or detriment and should be held

14 liable for the same under Arizona statutory or case law.

15           156.    Ms. Pagan has not excused Defendants' violations of their promises.

16           157.    Ms. Pagan has fulfilled her obligations in connection with receiving the

17 benefit of Liberty's promises.

18           158.    As a result of Defendants' violations of their promises, Ms. Pagan was

19 injured, will continue to be injured, and is entitled to an award of damages, attorneys' fees

20 under A.R.S. § 12-341.01, and/or any other available remedies in a fonn and amount to be

21    determined by the trier-of-fact.

22                                   EIGHTH CLAIM FOR RELIEF
23                        Unjust Enrichment/ Disgorgement-All Defendants
24           159.    Plaintiff incorporates by reference each and every allegation of this complaint

25    as if again alleged in full.

26           160.    Defendants have been directly enriched by Ms. Pagan's funds by Defendants'

27    wrongful conduct as alleged herein.
28           161.    Ms. Pagan has paid Liberty a significant amount of money for tuition and

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                               1 other costs under the promises made by Liberty and has not yet received in full the

                               2    services, education, value, or certifications agreed upon.

                               3            162.   To the extent that Defendants have received and retained payment from Ms.

                               4 Pagan to which they are not legally or equitably entitled, Ms. Pagan have been

                               5 impoverished as a result of Defendants' wrongful conduct, as alleged herein.

                               6            163.   There is a connection between the enrichment and the impoverishment, as
                               7    alleged herein.

                               8           164.    There is an absence of justification for the enrichment and the
                               9 impoverishment, as alleged herein.
u                             10            165.   To the extent that there is no adequate legal remedy and/or because the
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                              11    circumstances alleged herein are unjust under principles of equity, an award should be

                              12 made against one or more Defendants and in favor of Ms. Pagan requiring Defendants to
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   ~- N                °' 13 disgorge the amounts obtained from the wrongful conduct, and (to the extent not
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~ 'E_i~                       14 duplicative) to pay Ms. Pagan the amount she was impoverished.
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p ..... u                     15                                   NINTH CLAIM FOR RELIEF
~ ~            Cl)
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                              16                              Declaratory Judgment-All Defendants
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                              17           166.    Plaintiff incorporates by reference each and every allegation of this complaint
E--i
                              18    as if again alleged in full.

                              19           167.    A controversy presently exists between Ms. Pagan and Liberty, in that
                              20 Liberty is repmiing a false, incomplete, and/or other subpar grade for Ms. Pagan's
                              21    coursework, thus banning her transcript, her academic records and/or prospects, and/or,
                              22 potentially, her career prospects.

                              23           168.    A controversy presently exists between Ms. Pagan and Liberty, in that
                              24 Liberty has taken the position that Ms. Pagan would need to file an appeal to continue in
                              25    the program without repeating all of the courses-at her expense, and with a tuition
                              26    increase-despite the fact that these delays and errors have been due to Liberty and its own
                              27 internal record-keeping.

                              28           169.    A judicial dete1111ination under A.R.S § 12-1831 regarding these issues and

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 1 controversies is necessary and required so that a proper detennination can be made as to

 2 the rights and obligations of the parties.

            170.   The Court is requested to exercise its equitable powers under A.R.S. § 12-

 4   1831 and order Defendants to promptly and pennanently correct any false incomplete or
 5 other subpar grade for Ms. Pagan's coursework on her transcript or otherwise.

 6                                   TENTH CLAIM FOR RELIEF
 7               Injunctive Relief/ Temporary Restraining Order-All Defendants
 8          170.   Plaintiff incorporates by reference each and every allegation of this complaint
 9 as if again alleged in full.
            171.   Liberty intends to and will, unless restrained and enjoined by the Court, ( 1)
11   continue repo1iing a false incomplete or other subpar grade for Ms. Pagan's coursework
12 and (2) enroll, continue to keep Ms. Pagan matriculated in, and/or charge Ms. Pagan for
13   any courses in Summer 2022 which she has not personally signed up for, all in violation of

14 Ms. Pagan's rights.

15          172.   Wherefore, Ms. Pagan is entitled to an order and/or judgment for injunctive
16 relief and/or a temporary restraining order restraining and enjoining Liberty from (1)
17 reporting a false incomplete or other subpar grade for her coursework and (2) enrolling,
18   continuing to keep Ms. Pagan matriculated in, or charging Ms. Pagan in any way for any
19 courses in Summer 2022 which she has not personally signed up for, all in violation of Ms.
20 Pagan's rights.

21   IV.    DE1\1AND FOR JURY TRIAL
22          173.   Plaintiff respectfully demands a trial by jury on all issues for which she is
23   entitled to one under applicable law.
24   V.     REQUEST FOR RELIEF
25          WHEREFORE, Plaintiff requests a judgment in her favor, and against Defendants,
26   and each of them, as follows:

27          A.     For judgment and an award of all compensatory, incidental, and
28   consequential damages against Defendants provided by law, in an amount to be determined

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 I by the trier-of-fact;
 2          B.     For an award of punitive damages in an amount to be determined by the trier-

 3   of-fact;

 4 C.       For a declaration that the false, incomplete, and/or other subpar grade currently

 5 listed for Ms. Pagan's coursework with Libe1ty should be corrected fo11hwith;

 6          D.     For a declaration that Ms. Pagan is not required to file an appeal at her own

 7   expense, nor with a tuition increase, to continue in the Liberty program without repeating

 8 all of the courses, as these delays and enors have been due to Liberty and its own internal
 9 record-keeping;
            E.     For an order and/or judgment for injunctive relief and/or a temporary

11   restraining order restraining and enjoining Liberty from reporting any false incomplete or

12 other subpar grade for Ms. Pagan's coursework, on her transcript or otherwise;

13          F.     For Plaintiff's attorneys' fees and costs, under, without limitation, A.R.S. §§

14   12-341 and 12-341.01, which in the event of a default shall be $10,000;

15          E.     For pre-judgment and post-judgment interest at the highest rate allowed by
16 law; and

17          F.     For any other or further relief as may be deemed appropriate.

18

19          RESPECTFULLY SUBMITTED this 22 nd day of July, 2022.

20                                      TITUS BRUECKNER & LEVINE PLC

21                                      By: Isl Jeffi-ev D. Harris
                                          Jeffrey D. Hanis
22
                                          8355 E. Haitford Drive, Suite 200
23                                        Scottsdale, Arizona 85255
                                          Attorneys for Plaint(ffMisty Pagan
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         EXHIBIT A
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Executive Summary of Changes to the 2018
Standards for Accreditation of Baccalaureate and
Graduate Nursing Programs

The Commission on Collegiate Nursing Education (CCNE) Board of Commissioners approved the revised
Standards for Accreditation of Baccalaureate and Graduate Nursing Programs (Standards) (2018) in June
2018. This document summarizes the changes that have been made to this edition of the accreditation
standards.

The 2018 Standards go into effect on January 1, 2019. Therefore, all baccalaureate and graduate nursing
programs hosting a CCNE on-site evaluation on or after January 1, 2019 are required to address the 2018
Standards. (This includes a self-study document that is submitted to CCNE prior to January 1, 2019, for an
on-site evaluation occurring after January 1, 2019.)

All baccalaureate and graduate nursing programs submitting a continuous improvement progress report
(CIPR), compliance report, special report, or other report to CCNE on or after January 1, 2019 will need to
address the 2018 Standards.

Programs are expected to be in compliance with the CCNE Standards that are in effect throughout the
program's period of accreditation. Therefore, all CCNE-accredited baccalaureate and graduate nursing
programs, regardless of the date of the last or next on-site evaluation, should make updates, as necessary,
to demonstrate compliance with the 2018 Standards.


Summary.·ofClianges

General:

    •   In each oftl1eJour standards, key elements have been re-numbered. Some key elements have
        been divi~~d into two or more key elements. Other key elements have been re-ordered within the
        same standard or have moved from one standard to another. In some instances, such as dividing a
        key element into multiple key elements, the intent was to simplify the information that a program
        needs topresenffor each key element.

    •   In the 2013 Stanr:lards, only three specific key elements in Standard IV could be designated as "not
        applicable." In the ne'llly reyised standards, ~~.nptapplicable" is available as a choice for specific
        key elements in Sta11dc1rds U,)11, and;JV.

    •   Items listed in>Supporting Documentation i:lt the ~nd of each standard are now required to be
        provided in the self-study document or on site ii') the case of an on-site evaluation. CCNE
        recognizes that reasonable alternatives exist when providing documentation to address the key
        elements.

    •   Throughout the standards, language has been added to clarify that "faculty" includes full-time,



                                                                                              Serving the Public Interest
1                                                                                          Through Quality Accreditation
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    part-time, adjunct, tenured, non-tenured, or other faculty groups.




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Standard I:

    •   The revised edition of the NTF Criteria for Evaluation of Nurse Practitioner Programs (2016) is
        identified in Key Element 1-B, for programs with nurse practitioner offerings.

    •   All programs should refer to the updated statements contained in Key Element 1-H if the program
        chooses to publicly disclose its CCNE accreditation status. Note that the CCNE address and website
        changed in 2017, so all programs are expected to make the necessary adjustments to their documents,
        publications, and websites, if they have not done so already.

Standard II:

    •   Language has been added that more clearly defines CCNE's expectations in relation to physical
        resources and clinical sites. Specifically, Key Element 11-B states, in part, "The program is responsible
        for ensuring adequate physical resources and clinical sites. Clinical sites are sufficient, appropriate,
        and available to achieve the program's mission, goals, and expected outcomes." The program needs to
        meet these expectations regardless of whether the student or the program finds the clinical site.

    •   Key Element 11-D has been revised to state "The chief nurse administrator of the nursing unit... ". The
        phrase "of the nursing unit" was added to clarify the expectation that the nursing unit has a single
        chief nurse administrator.

    •   In Key Element 11-F, CCNE's expectation has been clarified that individuals serving in roles such as
        mentors, guides, and coaches are to be included by programs when addressing preceptors. Please note,
        this key element does not prohibit programs from allowing students to play an active role in identifying
        a preceptor, but if a student is unable to find an appropriate preceptor, when used by the program as
        an extension of faculty, the program is ultimately responsible for doing so.

Standard Ill:

    •   In rf=lation to the professional nursing standards and guidelines required by CCNE, note that Key
        Etements 111-C, 111-D, and 111-E now reference the revised edition of the NTF Criteria for Evaluation of
        Nurs¢ Practitioner Programs (2016), for graduate programs that prepare nurse practitioners.

    •   Asta.t~me~t has been added to Key Element 111-G, which states "Teaching-learning practices ... expose
        ~tud~.nts toJndividuals with diverse life experiences, perspectives, and backgrounds" (3 rd bullet). The
        elaborntion states that teaching-learning practices "broaden student perspectives."

    •   KeyElernehtJII-H has been expanded to include the concept of interprofessional education (IPE). The
        key elen1ent i~dicates, "The curriculum includes planned clinical practice experiences that ... foster
        interprofessiqnal collaborative practice... " (2 nd bullet). Additionally, the elaboration states, "Clinical
        practice experiences include opportunities for interprofessional collaboration."

    •   The elabo.ratidn to Key Element 111-H includes a statement clarifying that programs preparing
        individuals for a direct care role must provide individuals with direct care clinical practice experiences:
        "Programs tha.t ha.ve adjrect care Jocus (including but nQt li111ited to, post-licensure baccalaureate and
        nurse educator t~asks) providE= direct care ~xperienc€:?s designed to advance the knowledge and
        expertise of students in a clinical area of practice/'

    •   While the following statement is not new tC?,,~he2q185tcmdards, the elaboration to Key Element 111-H
        specifically states, "Clinical practice ~xperienc~sare provided for students in all programs, including
        those with distance education offerings:" Please note, this key element does not prohibit programs
        from allowing students to play an ac!iv~ rol~ in identifying clinical practice experiences, but if a
        student is unable to find an appropriate clinical practice experience, the program is ultimately
        responsible for providing this.




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Standard IV:

    •   Key Elements IV-B, IV-C, and IV-D specifically require that programs provide data by calendar year. As
        a result of many programs seeking clarity about the time frame for a calendar year, a calendar year is
        specifically defined as January 1-December 31. CCNE recognizes that programs may define their fiscal
        and academic years differently, but completion, licensure, and certification rates must be reported to
        CCNE based on a calendar year (as opposed to an academic or fiscal year).

    •   Key Elements IV-B, IV-C, IV-D, and IV-E provide programs with multiple options as to how data may be
        presented in order to demonstrate compliance with CCNE's expected level of achievement for each of
        these key elements. A program demonstrates compliance with each key element using any one of the
        options provided.

    •   Key Element IV-G has been updated to emphasize that programs are to present aggregate faculty
        outcome data, removing the directive to provide individual faculty outcome data that was included in
        the 2013 Standards. The data presented should be congruent with the faculty expectations defined by
        the program in Standard I, Key Element I-D. For instance, if the program has identified scholarship as
        an expected faculty outcome in Key Element I-D, aggregate faculty outcome data specific to
        scholarship should be presented in Key Element IV-G. Additionally, while not new to the 2018
        Standards, the program must compare actual faculty outcomes to expected levels of achievement.

    •   The elaboration to Key Element IV-I specifies that the program "demonstrates achievement of
        outcomes other than those related to completion rates (Key Element IV-B), licensure pass rates (Key
        Element IV-C), certification pass rates (Key Element IV-D), employment rates (Key Element IV-E), and
        faculty (Key Element IV-G)." The program is expected to present the expected and the actual levels of
        achievement for each of these "other" program outcomes, and "demonstrate that the program,
        overall, is achieving its outcomes."

Resources

The 2018 Standards are accessible at https://www.aacnnursing.org/Portals/42/CCNE/PDF/Standards-Final-
2018.pdf. ft..9ditionally, a crosswalk table showing the relationship between the 2013 and 2018 Standards, as
well as a template for writing the self-study document, are now available on the CCNE website and can be
found at.https:l/www.aacnnursing.org/CCNE-Accreditation/Resource-Documents/Program-Resources.

CCNE~o~teclfour ~ebinars in August 2018 to familiarize and educate program administrators, faculty, on-site
evaluc1t9rs1. cln.d C>!~ers about the revised Standards. These webinars are archived on the CCNE website at
https:l/www;aacnnursing.org/CCNE/Resource-Documents. These webinars are also available on CCNE's
YouTube chalinel athttps: / /www.youtube.com/channel/UCCr uAWAKTE3JnWSTiswUUA.

CCNEwilt be presentiqg the 2018 Standards at each of the upcoming AACN Education Conferences
(Bacccllqureate, Mas~er's, and Doctoral). We welcome your participation in those sessions. Details about these
conferences and hc:>w to register are accessible at https: / / www.aacnnursing.org/ Professional-
Development/ Upcomi ng-Conf erences.

As always, the CCNE.staffar~ ayaHal:>le, forgyi9a~c~. If xou haye questi9ns abC>ut the 2018 Standards, please
coritact Dr. Daniel Mifhalski, CC.NE Director ofAccreditation Service.s, at 202-887-6791 x253 or
drnichalski@ccneaccreditation: org




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          EXHIBIT B
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                      PMHNP Practi um
                                            Guide
                  Basic Information
                     •   All didactic courses are 8 weeks in length. The PMHNP program
                         offers these courses in the B term (first 8 weeks) and the D term
                         (second 8 weeks) in Fall, Spring, and Summer semesters.
                     •   The Practicum course - NURS 754 and NURS 755 are A term
                         courses (the entire semester)
                     •   Successful completion of the didactic courses - NURS 751, NU RS
                         752, and NURS 753 are part of the pre-practicum requirements



                  Getting Started
                  Welcome to the PMHNP Program. We are so excited to support you!

                  Week One to-do list:

                     •   Set Up Typhon:
                             o You will receive your Typhon Login and password
                                information. You will pay the $90.00, one-time fee to
                                access Typhon.
                             o Typhon will be used throughout your program for
                                practicum documentation and your portfolio
                     •   Purchase CastleBranch:
                             o CastleBranch is our onboarding platform where students
                                submit the required information.
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Purchasing CastleBranch Steps:
Please follow the steps below to purchase your CastleBranch Account. We
recommend that you purchase it as soon as possible. Please follow the directions
carefully.


Purchasing Instructions:

         1. Click on the link: https://portal.castlebranch.com/LM71
         2. Click on Place Order button
         3. Click the drop-down list and select Nursing and then DNP
         4. For all new students, you will need to purchase the following:

             •   LN12adt: I need to order my Background Check, Fingerprint, Drug Screening,
                 Compliance Tracker, and OSHA/HIPPA Modules.

     If you have any issues with purchasing or uploading through CastleBranch the
     customer service contact is 888-723-4263 or customerexp.cu@castlebranch.com.

Background checks:
     Impute required information and the background check should process within a
    week's time frame.

Fingerprint checks:
     Fingerprint check may take 10 - 14 business days to complete. Please do not
    delay when completing this task. At times, due to the high volume of
    submissions, there may be a delay of up to 6 weeks. NOTE: If you are a non-US
    citizen and have to submit your FBI Fingerprints using the Rolled Fingerprints
    please note that it will take 11-12 weeks to get your results.


Drug Screen:
    For most drug screens, you will receive a Chain of Custody form through your
    CastleBranch account within 24 hours. Download, print the form and take the form to
    the recommended site. If you have a negative drug screen, the result should be
    available within 48 hours. The Drug screen is an annual requirement.
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Compliance Tracker:
    •   MMR (one of the following is required):
         o   2 vaccines or positive antibody titer (lab report or physician verification of results
             required).
         o   If series is in process, submit where you are and a new alert will be created for
             you to complete the series.
         o   If the titer is equivocal, new alerts will be created for you to receive a booster
             and a repeat titer. If the repeat titer is still negative or equivocal a new alert will
             be created for you to receive a second booster.
         o   If the titer is negative, new alerts will be created for you to repeat the
             vaccination series and titer. If the repeat titer is still negative or equivocal a new
             alert will be created for you to receive a second booster.
    •   Varicella (one of the following is required):
         o   2 vaccines or positive antibody titer (lab report or physician verification of results
             required).
         o   If series is in process, submit where you are and a new alert will be created for
             you to complete the series.
         o   If the titer is equivocal, new alerts will be created for you to receive a booster
             and a repeat titer. If the repeat titer is still negative or equivocal a new alert will
             be created for you to receive a second booster.
         o   If the titer is negative, new alerts will be created for you to repeat the
             vaccination series and titer. If the repeat titer is still negative or equivocal a new
             alert will be created for you to receive a second booster.
    •   Hepatitis B (one of the following is required):
         o   3 vaccines or positive antibody titer (lab report or physician verification of results
             required) OR
         o   Declination waiver signed by a healthcare provider.
         o   If series is in process, submit your first TWO VACCINES a new alert will be created
             for you to complete the series.
         o   If the titer is equivocal, new alerts will be created for you to receive a booster
             and a repeat titer. If the repeat titer is still negative or equivocal it is
             recommended you continue with the Hepatitis B series, but it is not required.
         o   If the titer is negative, new alerts will be created for you to repeat the
             vaccination series and titer. If the repeat titer is still negative or equivocal it is
             recommended you continue with the Hepatitis B series, but it is not required.
    •   Tetanus:
         o   Submit documentation of a Td OR Tdap vaccine administered within the past 10
             years. The renewal will be set 10 years from the administered date.
    •   Influenza:
         o   Does your clinical site require an influenza vaccine? If yes, submit documentation
             of a flu shot administered during the current flu season (flu shot from any month
             will be accepted}. If no, this requirement will be marked complete. Annual
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               requirement
    •   Tuberculosis (one of the following is required):
         o     Negative one-step skin test from the past 12 months or Negative two-step skin
               test (1-3 weeks apart) from the past 12 months or Negative QuantiFERON Gold
               blood test from the past 12 months If positive results, submit a clear chest x-ray
               from the past 10 years AND physician clearance documented on letterhead
               stating treatment from the past 12 months.
         o     If the chest x-ray is positive this requirement will be rejected and you will be
               referred to your school administrator.
         o     The renewal will be set for 1 year for negative results and 10 years from the date
               of a chest x-ray. Upon renewal one of the following is required:
         o     Negative one-step skin test OR Negative QuantiFERON Gold blood test OR
         o     If positive results, submit a clear chest x-ray from the past 10 years AND
               physician clearance documented on letterhead stating treatment from the past
               12 months.
         o     If the chest x-ray is positive this requirement will be rejected and you will be
               referred to your school administrator.
    •   Meningitis:
         o     Does your clinical site require you to have a meningitis vaccination? If yes, submit
               your meningitis vaccine. If no, this requirement will be marked complete.
    •   CPR:
         o     Submit your current CPR certification. Must be American Heart Association
               Healthcare Provider course. Must be front and back of card OR eCard. The card
               must be signed; eCard does not need a signature. The renewal date will be set
               for the expiration date on the certification.
    •   RN License:
         o     Provide documentation of your current RN license OR verification of licensure
               through the state website. Renewal will be set based on the expiration of
               licensure.
    •   APRN License:
         o     Are you a Post-MSN DNP APRN student? If yes, submit your APRN license from
               any state. Renewal will be set based on the expiration of licensure. If no, this
               requirement will be marked complete.
    •   APRN Certification:
         o     Are you a Post-MSN DNP APRN student? If yes, submit your APRN Certification.
               Renewal will be set based on the expiration of certification. If no, this
               requirement will be marked complete.
    •   Physical Exam:
        o      Upload documentation of your completed physical examination. The exam must
               be completed on the form available for download from this requirement, be
               completed and signed by a medical professional, and be dated within the past 6
               months.
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    •       Required Practicum Hours for Program Completion:
            o   Not required for the PMHNP program, please request that it is canceled.
    •       Receipt of Student Handbook Form:
            o   Read the DNP Student handbook, complete the Student Handbook form, and
                submit to CastleBranch.
    •       DNP Program Orientation Attestation Form:
            o   Review the DNP Program Orientation in the DNP Program Center, complete the
                Attestation, and submit to CastleBranch.
    •       Student Identification Name Badge
            o   Purchase your student ID badge and notify CastleBranch once received
    •       Release of Records.
            o   Complete the required form and submit to CastleBranch.


LN12eleaning Tracker:
Review the OSHA and HIPPA Modules - 5 in total - and submit the Certification of
completion for each module.



Practicum Information:
Preceptors:
        •   Primary preceptors/Prescribers are either a Psychiatrist or a Psychiatric Mental Health
            Nurse Practitioner
                o   A PMHNP must be a year post-graduate to precept
                o   A primary preceptor is required to register
                o   Can precept 50% to 100% of hours
        •   Secondary preceptors/Non-prescribers are licensed Professional Counselor {LPC),
            psychologist, or social worker {MSW)
               o Can only precept up to 50% of hours for either NURS 754 and NURS 755

Licensing:
            Students must hold an RN license in the state they complete practicum. Students are
            encouraged to secure a compact license if possible to expand their site and preceptor
            options.

State Board of f\Jursing:
            The PMHNP must be completed in an approved state. Please follow up if you have any
            questions about your sites approval status
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NURS 754 Practicum I (Adult and Geriatric):
This practicum course provides extensive experience to prepare the student for the
professional role of a psychiatric mental health nurse practitioner. Students will provide
interviewing, screening, diagnostic testing, episodic, acute, and chronic care to adult and
geriatric clients. The student should demonstrate evidence-based practice behaviors and
adhere to standards of care to order and interpret screening/diagnostic tests, prescribe
therapeutics, and develop health prevention/promotion, and health maintenance plans.
Students should be able to assess adults and geriatric clients and develop a plan of care in
consultation with the preceptor. The students should provide holistic care through the
integration of ethnicity, culture, and community.

Required Hours: 224

Recommended Inpatient hours: 24

NURS 755 Practicum II (Pediatric and Family):
This practicum course provides extensive experience to prepare the student for the
professional role of a psychiatric mental health nurse practitioner. Students will provide
interviewing, screening, diagnostic testing, episodic, acute, and chronic care to child/adolescent
clients and their families. The student should demonstrate evidence-based practice behaviors
and adhere to standards of care to order and interpret screening/diagnostic tests, prescribe
therapeutics, and develop health prevention/promotion, and health maintenance plans.
Students should be able to assess the pediatric clients and families and develop a plan of care in
consultation with the preceptor. The students should provide holistic care through the
integration of ethnicity, culture, and community.

Required Hours: 280

Recommended Inpatient hours: 40

Tele health:
    •   There must be a mix of in-person and telehealth encounters.
    •   The student may provide telehealth patient care from a clinical site or on a shared
        platform with the preceptor.
    •   You may participate in telehealth patient care under the direct supervision of your
        preceptor within the policies and procedures set forth by the organization.
    •   Telehealth visits must be precepted visits.
    •   Telehealth visits should allow for participation and delivery of care by the student rather
        than observational visits.
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Form 9:
Completion of Form 9, is the first step in the approval process for a site and preceptor. When
completing via the link, please ensure that you have your preceptor and sites contact
information, your preceptor's CV and if they are a PMHNP you will also need to submit their
ANCC certification:

Form 10:
Completion of Form 10 formalizes the relationship between student and preceptor. Submit this
form to the Practicum Coordinator to be placed in your file.

Scheduling Hours:
Ensure that you and your preceptor have established a schedule to complete the required
number of hours during your course start and end dates. It is also recommended that you have
flexibility with your schedule in case of missed days due to illness, weather, etc.
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I             EXHIBIT C                                              I
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LIBE
UNIVERSITY
                                       SCHOOL of
                                       NURSING
                                                                                 DNPProgram
                                                                        Practicum/ Clinical Site /Preceptor
                                                                                Approval Fo1m

                                                   FORM NINE
Note: A separate form must be used for each site, even within the same system, to document the preceptor.
Please print/ type information.

Student Name:________________________                                          Date: _ _ _ _ _ _ _ __


Practicum Experience: D Family Nurse Practitioner Practicum       D DNP Practicum

Type of Site (select one) D Clinic/ Office D Hospital D Other-_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Practicum Site (Name): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Practicum Site Address: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



Site \\fcbsite: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Preceptor Name /Credentials _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _License _ _ _ _ _State _ _ __

Preceptor Email: _ _ _ _ _ _ _ _ _ _ _ _ _ Fax: _ _ _ _ _ _ _ _ Phone: _ _ _ _ _ _ _ __

Highest Degree of Preceptor (check one) Dl\ISN      □DNP       □MD      □ DO     □PhD       □ Other _ __


Primary Preceptor (Name):

Secondary Preceptor (Name):

                       NOTE: Preceptor Curriculum Vitae must also be attached.
Family Nurse Practitioner Hours/Course Requirements
(This may vary as students may select more than one site or choose a specialty, and can be documented by writing in
the change.)

 Family Nurse Practitioner Course/Hours                     DNP Practicum Course/ Estimated Hours
 □   NURS 730 FNP Practicum I            112 hrs           □ NURS 840              112 hrs or_ _
 □   NURS 740 FNP Practicum 1             56 hrs           □ NURS 841              112 hrs or_ _
 □   NURS 7 41 FNP Practicum I            56 hrs           □ NURS 842              112 hrs or
 □   NURS 736 FNP Practicum JI           224 hrs           □ NURS 843              112 hrs or
 □   NURS 743 FNP Practicum 11           112 hrs           □ NURS 844              112 hrs or
 □   NURS 744 FNP Practicum JI           112 hrs
 □   NURS 838 FNP Practicum III          280 hrs


 Psych Mental Health Nurse Practitioner Course/Hours
 D  NURS 754 Pi\HINP Practicum I 224 hrs           Nurse Educator (elective)
 D NURS 755 Pi\JHNP Practicum II 280 hrs          D NURS 767 Transition ro Nurse Educator                    50 hrs


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Note: If attending a specialty oi- short term site, indicate course and planned hours in attendance.

Course_________ J{ours planned._ _ _ _ _ _ _ __

Contact Person (to facilitate the establishment of an affiliation agreement between LU and clinical site)

Name:--------------------------------------------
Title: ________________ Department: ______________________

Phone(___) ____________ Fax: __________________________

Email: _______________                       Alt Email (as applicable): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Contact Address (If Different From Practicum Site):




                                       (LUSON OFFICE USE ONLY)

Practicum/Preceptor/ Clinical Site:   D Approved      D Declined

Date: _____________Signature: ___________________________

Affiliation agreement on f i l e / D a t e - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Preceptor Agreement on f i l e / D a t e - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Notes:




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LIBERTY
UNIVERSITY
                                      SCHOOL of
                                      NURSING
                                                                                  DNPProgram
                                                                           Clinical Practicum Contract



                                                 FORM TEN

Student N a m e : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Concentration: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Practicum Courses (Check all that apply):

                         □   NURS 730             □ NURS 744              □ NURS 840

                         □   NURS 736             □ NURS 754              □ NURS 841

                         □   NURS 740             □ NURS 755              □ NURS 842

                         □    NURS 741            □ NURS 767              □ NURS 843

                         □   NURS 743             □ NURS 838              □ NURS 844


Preceptor:---------------------------------

Agency:


I, _______________________, agree to fulfill the requirement of _ _ _ __
practicum hours, to be initiated in NURS            and completed by the conclusion of the
sernester in which I am enrolled in NURS __________

______________________ will act as preceptor, providing weekly consultation,
guidance, and assistance in problem solving as needed. The goals and objectives as set forth in this contract
(see attached page) may be renegotiated and signed by all parties as named above.

Policies: I agree to abide by the policies set ic)tth in the Graduate Nursing Student Handbook, which I
acknowledge I have received, read and understand. In keeping with these promises, I will also abide by all
obligations imposed upon me by any affiliation agreement entered into by l..iberty University and my
practicum site.

Release of Confidential Information: To allow my practicum study to occur, I hereby authorize Liberty
University to release information about me to my practicum site and preceptor and I waive any right of
confidentiality afforded to me by the Family Education Rights and Privacy Act regarding such information.

Indemnity: I hereby release, waive my right recoYer against, and agree to indemnify, defend, and hold
harmless Liberty University Inc. and all of its operators, and parent subsidiary and related entities, and its and
their respective officers, directors, employees, agents, servants, and insurers (hereinafter jointly referred to as

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the "Indemnitee") from and for any and all claims or causes of action for any losses, damages, property
damage, property loss or theft, cost, expenses (including attorney's fees and opinion witness fees),
complaints, personal injury, death or other loss arising form or relating in any way to my participation in
practicum study, including, without lirnitation, my travel to, from and during the practicum study, and
wrongful acts of others that are harmful to me.

Waiver: I hereby waive any and all claims that may arise against Liberty University, Inc. and all of its
operators, and parent, subsidiary and related entities, and its and their respective officers, directors,
employees, agents, servants and insurers as a result of or in any way related to my participation in practicum
study, including, without limitation, my travel to, from and during the practicum study, and wrongful acts of
others that are harmful to me, including but not linuted to claims alleging negligence, gross negligence,
and/ or willful and wanton bad acts.

Covenant Not To Sue: I promise and agree that I will not sue Liberty University, Inc. or any of its
operators, or parent, subsidia1·y and related entities, or its 01· their respective officers, directors, employees,
agents, servants and insurers for any damages, losses, clairns, causes of action, suits, demands, costs,
complaints, including those resulting from my illness, injury, and/ or death, released and ,vaived in the t\vo
preceding paragraphs. The undersigned student further agrees that Liberty Univctsity, Inc. may plead this
agreement as a full and complete defense to any suit brought in violation of this promise.

Agreements Not Limited by Actions of Liberty University: The agreements and obligations under the
three preceding paragraphs shall not be limited or reduced in any way because any of the losses, damages,
property damage, propeny loss or theft, costs, complaints, personal injury, death or other loss, including
those resulting from the undersigned's illness, injury, and/ or death, arise or result, in whole or in part, from
the negligence of, or breach of any express or implied warranty or duty by Liberty University, or any of its
operators, or parent, subsidiary and related entities, or its or their respective officers, directors, employees,
agents, servants, and insurers.

Liberty University, Inc. shall be deemed a third-party beneficiary of this contract.



Signatures:

Student:----------------------------------------
(l)rint Name)

Student: _____________________________ Date: _ _ _ _ _ _ _ __
(Signature)


Preceptor:------------------------------------------
(Print Name and Credentials)

Preceptor: ___________________________ Date: __________
(Signature)




                                                         155
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          EXHIBIT D
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                       BEFORE THE ARIZONA STATE BOARD OF NURSING

 IN THE MATTER OF APPLICATION FOR
ADVANCED PRACTICE NURSING
PROGRAM                                                        DECREE OF CENSURE WITH
                                                                      CIVIL PENALTY

Liberty University School of Nursing                            CONSENT AGREEMENT
1971 University Blvd.                                                   AND
Lynchburg, VA 24515                                            ORDER NO. 201201APDL0046

                            APPLICANT




          The Arizona State Board of Nursing ("Board") received allegations that Liberty

University ("Applicant") violated the Nurse Practice Act. In the interest of a prompt and speedy

settlement of the above-captioned matter, consistent with the public interest, statutory

requirements and the responsibilities of the Board, and pursuant to A.R.S. § 41-1092.07 (F)(5),

the undersigned parties enter into this Consent Agreement as a final disposition of this matter.

          Based on the evidence before it, the Board makes the following Findings of Fact and

Conclusions of Law:

                                                FINDINGS OF FACT
     1. Liberty University School of Nursing ("Liberty") admitted 20 Arizona students in its

          APRN programs starting in Summer of2020 prior to Board approval. 4 of the 20 students

          commenced clinicals in Autumn 2020 prior to approval or contact with AZBN, which is a

         violation ofR4- l 9-503.

    2. After Board staff's 12.8.2020 notification to Liberty of a concern regarding the program's

         lack of approval in Arizona, additional contacts, and Board staff's 12.23.2020 email to

         the    Liberty      University       School   of Nursing   Dean   and   Director of Financial



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          Aid-Compliance and Processing asking them to cease and desist marketing and

          recruiting, Board staff received a total of 24 marketing contacts, including emails, phone

          calls, mailed media, between 12.17.2020 and 02.18.2021 for the Liberty University

          programs including the unapproved APRN programs.

     3. Liberty submitted an application to the Board for approval of its APRN programs on

          1.7.2021 and was presented to the Board as a companion document at its March Board

          meeting.

     4. The Board voted: Based upon the findings of fact and statute/rule violations identified in

          the investigative report, upon meeting all approval requirements, signing a Consent

          Agreement for a Decree of Censure and a $4,000 Civil Penalty, and paying the civil

          penalty, grant full approval of the following programs for Liberty University: Family

          Nurse Practitioner BSN-DNP, Psych Mental Health Nurse Practitioner Post-Masters

          Certificate, Psych Mental Health Nurse Practitioner Post MS-DNP and Psych Mental

          Health Nurse Practitioner Post-BSN DNP programs. If not signed within 30 days and

          civil penalty paid within 60 days, deny approval.

                                            CONCLUSIONS OF LAW

          Pursuant to A.R.S. §§ 32-1606, 32-1644, 32-1663 and 32-1664, the Board has subject

matter and personal jurisdiction in this matter.

         The conduct and circumstances described in the Findings of Fact constitute violations of

A.R.S. § 32-1663 (D) as defined in and currently cited as § 32-160 I (26) "Unprofessional

conduct" includes the following whether occurring in this state or elsewhere: (d) Any        conduct

or practice that is or might be harmful or dangerous to the health of a patient or the public;




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 G) Violating a rule that is adopted by the Board pursuant to this chapter. (effective August 9,

2017); A.R.S. § 32-1666. Un)awfu) acts-

(B) It is unlawful for a person to operate a training or educational program to prepare students
for Iicensure or certification under this chapter unless it has been approved under this chapter;
Arizona Administrative Code

R4-19-502 Requirements for APRN Programs:
(A)       An educational institution or other entity that offers an APRN program in this state for

RNP or CNS roles shall ensure that the program: 5. Offers a curriculum that covers the scope of

practice for both the role of advanced practice as specified in A.R.S. 32-1601 and the population

focus including:          (a Three separate graduate level courses in: (i) Advanced physiology and

pathophysiology, including general principles across the lifespan; ii) Advanced health

assessment, which includes assessment of all human systems advance assessment techniques,

concepts and approaches; iii) Advanced pharmacology, which includes pharmacodynamics,

phannacokinetics and pharmacotherapeutics of all broad category agents)

(B) A CNS or RNP program shall appoint the following personnel) (3) Nursing faculty to teach

any APRN course that includes a clinical learning experience who have the following

qualifications (a) A current unencumbered RN license or multi-state privilege to practice

registered nursing in Arizona; (b) A current unencumbered Arizona APRN certificate; (d) Two

years of APRN clinical experience and (B)(4) Adjunct or part-time clinical faculty employed

solely to supervise clinical nursing experiences shall meet all of the faculty qualifications for the

APRN program they are teaching.



R4-19-503 Application for Approval of an Advanced Practice Registered Nursing Program.




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 A. An administrator of an educational institution that proposes to offer a CNS or RNP program

 shall submit an application that includes all of the following information to the Board:

 1. Role, population focus that meets the criteria in R4-l 9-501 program administrator and lead

 faculty member as required in R4- l 9- 502(B);

 2. Name, address, and evidence verifying institutional accreditation status of the affiliated

 educational institution and program accreditation status of current nursing programs offered by

the educational institution;

3. The mission, goals, and objectives of the program consistent with generalJy accepted standards

for advanced practice education in the role and population focus of the program;

4. List of the required courses, and a description, measurable objectives, and content outline for

each required course consistent with curricular requirements in R4-19-502;

5. A proposed time schedule for implementation of the program and attaining national

accreditation;

6. The total hours allotted for both didactic instruction and supervised clinical practicum in the

program;

7. A program proposal that provides evidence of sufficient financial resources, clinical

opportunities and available faculty and preceptors for the proposed enrollment and planned

expansion;

8. A self-study that provides evidence of compliance with R4-19-502;

B. An entity that wishes to offer a CRNA program shall submit evidence of current accreditation

by the Council on Accreditation of Nurse Anesthesia Education Programs or an equivalent

organization.




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 C. The Board shall approve an advanced practice registered nursing program if approval is in the

 best interest of the public and the program meets the requirements of this Article. The Board may

grant approval for a period of two years or less to an advanced practice nursing program where

the program meets all the requirements of this Article except for accreditation by a national

nursing accrediting agency, based on the program's presentation of evidence that it has applied

for accreditation and meets accreditation standards.

D. An educational institution or entity that is denied approval of an advanced practice registered

nursing program may request a hearing by filing a written request with the Board within 30 days

of service of the Board's order denying its application for approval. Hearings shall be conducted

in accordance with A.R.S. Title 41, Chapter 6, Article 10 and 4 A.A.C. 19, Article 6.

E. Approval of an advanced practice registered nursing program expires 12 months from the date

of approval if a class of students is not admitted within that time.

R4-19-504 Notice of Deficiency; Unprofessional Program Conduct

(D). A disciplinary action, denial of approval, or notice of deficiency may be issued against an

RNP or CNS nursing program for any of the following acts of unprofessional conduct:

8. Failure to comply with Board requirements within designated time-frame.

          The conduct and circumstances described in the Findings of Fact constitute sufficient

cause pursuant to A.R.S. § 32-1664(0) to revoke, suspend or take other disciplinary action

against Applicant's program approval to conduct an advanced practice nursing program in the

State of Arizona.

          However, in lieu of a hearing, Applicant agrees to issuance of the following Order and

waives all rights to a hearing, rehearing, appeal or judicial review relating to this matter.

Applicant further waives any and all claims or causes of action, whether known or unknown, that


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Applicant may have against the State of Arizona, the Board, its members, officers, employees

and/or agents arising out of this matter.

          Applicant admits to the Board's Findings of Fact and Conclusions of Law.

          Applicant understands that the admissions in the Findings of Pact are conclusive evidence

of a violation of the Nurse Practice Act and may be used for purposes of determining sanctions

in any future disciplinary matter.

          Applicant understands the right to consult legal counsel prior to entering into this

Consent Agreement and such consultation has been either obtained or is waived.

          Applicant understands that this Consent Agreement is effective upon its acceptance by

the Board or its designee and by Applicant as evidenced by the respective signatures thereto.

Applicant's signature obtained via facsimile shall have the same effect as an original signature.

Once signed by Applicant, the Agreement cannot be withdrawn without the Board's approval or

by stipulation between Applicant and the Board's designee. The effective date of this Order is the

date the Consent Agreement is signed by Applicant and accepted by the Board or its designee.



                                                       Signature or Approved Applicant Representative
                                                       Shanna W. Akers, Liberty University
                                                       Shanna W. Akers, Dean, LU School of Nursing
                                                       Print the signer's name AND title


                                                       ARIZONA STATE BOARD OF NURSING
                                                        ~ ~                   fl-IL   /JrlL &tJ_a'l't_
                                                       Joey Ridenour, R.N., M.N., F.A.A.N.
                                                       Executive Director

                                                       Dated: 5/7/2021

JR/DH:11

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                                                       ORDER
            In view of the above the Findings of Fact, Conclusions of Law, and the consent of

    Applicant, the Board hereby issues the following Order:

                    A.        Applicant's consent to the terms and conditions of this Order and waiver

               of hearing is accepted.

                    B.        It is ordered that, upon meeting all approval requirements, acceptance by

               the Board of this agreement, and full and complete payment for the Civil Penalty

               received by the Board (see section C, below), the approval of Liberty Family Nurse

               Practitioner BSN-DNP, Psych Mental Health Nurse Practitioner Post-Masters,

               Certificate, Psych Mental Health Nurse Practitioner Post MS-DNP and Psych Mental

               Health Nurse, Practitioner Post-BSN DNP programs shall be granted, and a DECREE

               OF CENSURE be entered against Applicant's program approval.

                    C.        If not signed within 30 days and civil penalty paid within 60 days, deny

               approval.

                    D.        Applicant shall be assessed a Civil Penalty in the amount of$4,000.00.

                             1)       Applicant shall pay the Civil Penalty, in full, no later than

               6/28/2021 via the Board's Online Payment System 1•

                            2)        If Applicant fails to timely pay the Civil Penalty, in the manner

              stated in paragraph C. (I), above, Applicant's nursing program application shall be

              DENIED, and the Applicant may not reapply for approval for a period of two (2)

              years.




1
    The Board's online payment system is available

Liberty University, Decree of Censure -Civil Penalty                                           7
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              Applicant waives any and all rights to a hearing, rehearing or judicial review of any

suspension or revocation imposed pursuant to this paragraph.

                    D.        While this Order is in effect and/or Applicant's approval is subject to

              discipline, up to and including denial, Applicant is not eligible to renew any other

              expired approval previously held by Applicant without prior review and approval by

              the Board.

                                                          Board Date: March 31. 202'1




                                                          ARIZONA STATE BOARD OF NURSING

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                                                           Joey Ridenour, R.N., M.N., F.A.A.N.
                                                           Executive Director
                                                                      5/7/2021
                                                          D ate d :
                                                                  -------------
                                                                          5/7/2021
                                                          Acceptance Date:_ _ _ _ _ _ _ __



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Transmitted this 28th, day of April, 2021 via Adobe Sign to:

Shanna W. Akers, Liberty University: sakers@Iiberty.edu

           Lyn Ledbetter
By:
          Administrative Assistant




                              21         May
Fully Executed copy sent this _ _ day of _ _ _ _ _ __, 2021 via Adobe Sign to:

Shanna W. Akers, Liberty University: sakers@liberty.edu


Signed in the Board Office          on_Q_S_/_2_l_/_2_0_2_l__

By:
          Administrative Assistant




Liberty University, Decree ofCensure -Civil Penalty                              9
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           EXHIBIT 2
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                                                                          Clerk of the Superior Court
                                                                          *** Electronically Filed***
                                                                             K. Sleeseman, Deputy
                                                                            7/22/2022 5:39:35 PM
Person/Attorney Filing: Jeffrey Hanis                                         Filing ID 14599986
Mailing Address: 8355 E Hartford Drive Suite 200
City, State, Zip Code: Scottsdale, AZ 85255
Phone Number: (480)483-9600
E-Mail Address: Jharris@tbl-law.com
[ ]
  □ Representing Self, Without an Attorney
(If Attorney) State Bar Number: 031136, Issuing State: AZ


                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                  IN AND FOR THE COUNTY OF MARICOPA

MISTY PAGAN
                                                       Case No. CV2022-052306
Plaintiff(s),
V.
LIBERTY UNIVERSITY, INC. a Virginia
                                                       CERTIFICATE OF
corporation                                            COMPULSORY ARBITRATION
Defendant(s ).
I ce1iify that I am aware of the dollar limits and any other limitations set forth by the
Local Rules of Practice for the Maricopa County Superior Court, and I further certify that
this case IS NOT subject to compulso1y arbitration, as provided by Rules 72 through 77 of
the Arizona Rules of Civil Procedure.


RESPECTFULLY SUBMITTED this


                                  By: Jeffrey Harris Isl
                                       Plaintiff/Attorney for Plaintiff
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           EXHIBIT 3
                                                                         Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 62 of 63



                                                                  1     Robert H. Feinberg (Bar #015059)
                                                                        Joshua R. Woodard (Bar #015592)
                                                                  2     Claudia E. Stedman (Bar #036387)
                                                                        SNELL & WILMER, L.L.P.
                                                                  3     One Arizona Center
                                                                        400 E. Van Buren
                                                                  4     Phoenix, AZ 85004-2202
                                                                        Telephone: (602) 382-6000
                                                                  5     Facsimile: (602) 382-6070
                                                                        Email: rfeinberg@swlaw.com
                                                                  6            jwoodard@swlaw.com
                                                                               cstedman@swlaw.com
                                                                  7
                                                                        Attorneys for Defendant Liberty University, Inc.
                                                                  8
                                                                  9
                                                                                    IN THE SUPERIOR COURT FOR THE STATE OF ARIZONA
                                                                  10
                                                                                           IN AND FOR THE COUNTY OF MARICOPA
                                                                  11
                                                                        In re the Matter of:
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12                                                       Case No. CV2022-052306
                                                                        MISTY PAGAN,
Snell & Wilmer
                       Phoenix , Arizona 85004 -2202




                                                                  13
                                                                                      Plaintiff,                           NOTICE OF FILING NOTICE OF
                              LAW OFFICES


                                602.382.6000




                                                                  14                                                       REMOVAL
                                     L.L.P.




                                                                               v.
                                                                  15
                                                                        LIBERTY UNIVERSITY, INC. a Virginia
                                                                  16    corporation,                                       (Assigned to the Hon. Melissa Julian)
                                                                  17                  Defendants.
                                                                  18
                                                                  19   To the Clerk of the Court and Plaintiff Misty Pagan:
                                                                  20          PLEASE TAKE NOTICE that on September 1st, 2022, a copy of the Notice of
                                                                  21   Removal, attached hereto as Exhibit A, was filed with the Clerk of the United States District
                                                                  22   Court for the District of Arizona.
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                                                                         Case 2:22-cv-01484-JZB Document 1 Filed 09/01/22 Page 63 of 63



                                                                  1           DATED: September 1st, 2022.
                                                                  2                                                    SNELL & WILMER L.L.P.
                                                                  3
                                                                  4                                                By: /s/Claudia E. Stedman
                                                                                                                      Robert H. Feinberg (Bar #015059)
                                                                  5                                                   Joshua R. Woodard (Bar #015592)
                                                                                                                      Claudia E. Stedman (Bar #036387)
                                                                  6                                                   One Arizona Center
                                                                                                                      400 E. Van Buren
                                                                  7                                                   Phoenix, AZ 85004-2202
                                                                                                                      Telephone: 602.382.6000
                                                                  8                                                   Facsimile: 602.382.6070
                                                                                                                      Attorneys for Defendants
                                                                  9
                                                                  10   The foregoing was eFiled via TurboCourt
                                                                       and e-mailed on September 1st, 2022 to:
                                                                  11
                                                                       Jeffrey Harris (Bar #031136)
             One Ariz ona Cente r, 400 E. Van Buren, Suite 1900




                                                                  12   TITUS BRUECKNER & LEVINE PLC
                                                                       8355 E. Hartford Dr., Suite 200
Snell & Wilmer
                       Phoenix , Arizona 85004 -2202




                                                                  13   Scottsdale, Arizona 85255
                                                                       480-483-9600
                              LAW OFFICES


                                602.382.6000




                                                                  14   jharris@tbl-law.com
                                     L.L.P.




                                                                  15   Attorney for Plaintiff Misty Pagan
                                                                  16
                                                                  17
                                                                  18   /s/Natalie Ayala
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